 

Case 1:19-cv-05375-PAE Document aI PMs Pa 0 8
UNITED STATES DISTRICT COURT BOG # 3
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SOUTHERN DISTRICT OF NEW YORK

 

 

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Inre: Counseled Employment Discrimination Cases Second Amended Standing
Assigned to Mediation by Automatic Referral Administrative Order ia
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LORETTA A. PRESKA, Chief United States District Judge:

 

This Court’s Standing Administrative Order of May 24, 2015, requires all counseled _
employment discrimination cases, except cases brought under the Fair Labor Standards Act of
1938, 29 U.S.C. §§ 201, et seq., to be automatically referred to the Southern District of New York’s
Alternative Dispute Resolution program of mediation upon the filing of an Answer. Effective
November 2, 2015, unless otherwise ordered by the judge in the particular case, within 30 days of the
filing of an Answer in such cases, the parties must produce the information specified in the Pilot
Discovery Protocols for Counseled Employment Cases (“Discovery Protocols”), attached as
Exhibit A. Within 60 days of the filing of an Answer, or as soon thereafter as it can be scheduled,
the parties and their counsel must participate in a mediation session.

The Discovery Protocols require the early exchange of targeted, core discovery, and are intended to
frame issues for resolution through mediation and to assist the parties in planning for additional
discovery in the event the case is not promptly resolved through mediation. If any party believes that
there is good cause why a particular case should be exempted from the Discovery Protocols, in whole
or in part, or from mediation, that party must raise the issue promptly with the Court.

The Discovery Protocols do not modify any party’s rights under the Federal Rules of Civil
Procedure or the Local Civil Rules, but they do supersede the parties’ obligations under Fed. R. Civ. P.
26(a)(1). The Protective Order attached as Exhibit B is deemed issued in all cases governed by
this Standing Order. All documents and information produced under the Discovery Protocols will be
deemed part of discovery under the Federal Rules of Civil Procedure. The parties’ responses to the
Discovery Protocols are subject to Fed. R. Civ. P. 26(e) regarding supplementation, Fed. R. Civ. P.
26(g) regarding certification of responses, and Fed. R. Civ. P. 34(b)(2)(E) regarding the form of
production for documents and electronically stored information.

SO ORDERED:
DATED: New York, New York \s 4, 4, A Lp EZ
October 1, 2015
LORETTA A.PRESKA~
Chief United States District Judge

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Exhibit A

PILOT DISCOVERY PROTOCOLS
FOR COUNSELED EMPLOYMENT CASES

 

The use of the term “documents” below includes electronically stored information (“ESI”).
(1) Documents that the plaintiff must produce to the defendant.
a. The plaintiff's employment contract.
b. Ifthe claims in this lawsuit include a failure to hire or a failure to promote, the plaintiffs
application for the position and any documents the plaintiff sent or received concerning

the defendant’s decision.

c. Ifthe claims in this lawsuit include the wrongful termination of employment, any
documents the plaintiff sent or received concerning the defendant’s decision.

d. Ifthe claims in this lawsuit include a failure to accommodate a disability, any requests
for accommodation and responses to such requests.

e. Ifthe plaintiff's employment was terminated, any documents demonstrating the
plaintiff's efforts to obtain other employment. The defendant shall not contact or

subpoena a prospective or current employer absent agreement or leave of court.

f. Any application for disability benefits or unemployment benefits after the alleged
adverse action and documents sufficient to show any award.

(2) Information that the plaintiff must produce to the defendant.

a. If the plaintiff is relying on any oral comments that the plaintiff alleges were
discriminatory or on any instances of harassment, identify the speaker or actor, the
comment or action, and any witnesses to the comments or harassment.

b. A description of the categories and amounts of damages for the plaintiff's claims.

(3) Documents that the defendant must produce to the plaintiff.

a. The plaintiff's employment contract, job description, and documents sufficient to show
plaintiff's compensation and benefits.

b. The plaintiffs personnel file.

c. For the most recent 5 years of employment, plaintiffs performance reviews and the file

 

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created for any disciplinary actions taken against the plaintiff.

d. Any documents sent by the defendant to a government agency in response to government
agency claims filed by the plaintiff in which the plaintiff relied on any of the same factual
allegations as those in this lawsuit.

e. Ifthe claims in this lawsuit include a failure to hire or a failure to promote, the plaintiff's
application and any documents the defendant created that record the reasons the
defendant rejected the plaintiff's application.

f. If the claims in this lawsuit include the wrongful termination of employment, any
documents the defendant sent to or received from the plaintiff regarding the termination,
and any documents that record the reasons for the termination decision.

g. Ifthe claims in this lawsuit include a failure to accommodate a disability, any written
requests for accommodation, written responses to such requests, and documents that record
the reasons for rejection of a requested accommodation.

h. Written workplace policies relevant to the alleged adverse action.

(4) Information that the defendant must produce to the plaintiff.

Information concerning the ability to pay, including insurance coverage, if relevant to the
mediation.

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Exhibit B

ROTECTIVE ORDER

WHEREAS, on October 1, 2015, the Court issued the Second Amended Standing Administrative
Order 11 Misc. 003 for the mediation of certain counseled employment cases;

WHEREAS, the Order requires the parties to exchange certain documents and information within
30 days of the filing of an Answer;

WHEREAS, the parties seek to ensure that the confidentiality of these documents and information
remains protected; and

WHEREAS, good cause therefore exists for the entry of an order pursuant to Rule 26(c) of the
Federal Rules of Civil Procedure, it is hereby

ORDERED that the following restrictions and procedures shall apply to the information and
documents exchanged by the parties pursuant to the Discovery Protocol:

1.

Counsel for any party may designate any document or information, in whole or in part, as
confidential if counsel determines, in good faith, that such designation is necessary to protect
the interests of the client. Information and documents designated by a party as confidential
will be stamped “CONFIDENTIAL.”

The Confidential Information disclosed will be held and used by the person receiving such
information solely for use in connection with the action.

In the event a party challenges another party’s designation of confidentiality, counsel shall
make a good faith effort to resolve the dispute, and in the absence of a resolution, the
challenging party may seek resolution by the Court. Nothing in this Protective Order
constitutes an admission by any party that Confidential Information disclosed in this case is
relevant or admissible. Each party reserves the right to object to the use or admissibility of the
Confidential Information.

The parties should meet and confer if any production requires a designation of “For Attorneys’
or Experts’ Eyes Only.” All other documents designated as “CONFIDENTIAL” shall not be

disclosed to any person, except:

a. The requesting party and counsel, including in-house counsel;

b. Employees of such counsel assigned to and necessary to assist in the litigation;

c. Consultants or experts assisting in the prosecution or defense of the matter, to the extent
deemed necessary by counsel; and

d. The Court (including the mediator, or other person having access to any Confidential
Information by virtue of his or her position with the Court).

 

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5. Prior to disclosing or displaying the Confidential Information to any person, counsel must:

a. Inform the person of the confidential nature of the information or documents;

b. Inform the person that this Court has enjoined the use of the information or documents by
him/her for any purpose other than this litigation and has enjoined the disclosure, of the
information or documents to any other person; and

c. Require each such person to sign an agreement to be bound by this Order in the form
attached hereto.

6. The disclosure of a document or information without designating it as “confidential” shall not
constitute a waiver of the right to designate such document or information as Confidential
Information. If so designated, the document or information shall thenceforth be treated as
Confidential Information subject to all the terms of this Stipulation and Order.

7. Atthe conclusion of litigation, the Confidential Information and any copies thereof shall be
promptly (and in no event later than 30 days after entry of final judgment no longer subject to
further appeal) returned to the producing party or certified as destroyed, except that the parties’
counsel shall be permitted to retain their working files on the condition that those files will
remain protected.

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Agreement

I have been informed by counsel that certain documents or information to be disclosed to
me in connection with the matter entitled have been
designated as confidential. I have been informed that any such documents or information labeled
“CONFIDENTIAL” are confidential by Order of the Court.

 

I hereby agree that I will not disclose any information contained in such documents to any
other person. J further agree not to use any such information for any purpose other than this
litigation.

DATED:

 

Signed in the presence of:

 

(Attorney)

 

 

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